                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION
 IN RE:
 JAMES WILSON MCMEANS, JR.                      )       CASE NO. 18-82525-CRJ-12
                                                )
 SSN XXX-XX-4589                                )
                                                )       CHAPTER 12
                         DEBTOR                 )


             NOTICE OF WITHDRAWAL OF TRUSTEE’S
      AMENDED OBJECTION TO DEBTOR’S CLAIM OF EXEMPTIONS

        COMES NOW, Michele T. Hatcher, Chapter 12 Trustee in the above styled case and

 withdraws the Amended Objection to Debtor’s Claim of Exemptions filed on October 31, 2018.


        RESPECTFULLY SUBMITTED this the 5th day of November, 2018.


                                                     /s/ Michele T. Hatcher _____________
                                                     Michele T. Hatcher
                                                     Chapter 12 Trustee
                                                     P.O. Box 2382
                                                     Decatur, AL 35602
                                                     (256) 350-0442



                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 5, 2018, I have served a copy or the foregoing on the
 parties listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the United
 States Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice
 of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4 of the Court’s
 Administrative Procedures.

 James Wilson McMeans, Jr.
 205 Milton Rd
 Athens AL 35611




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 Stuart M. Maples
 Maples Law Firm PC
 Attorney for Debtor
 200 Clinton Ave W Ste 1000
 Huntsville AL 35801


                                                /s/ Michele T. Hatcher
                                                Trustee




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